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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA


ATLANTIC SPECIALTY INSURANCE
CO. AND EXCESS UNDERWRITERS
                                                      CIVIL ACTION
SUBSCRIBING SEVERALLY TO
POLICY NO. TMU-407387
                                                      NO. 17-cv-9318
                  Plaintiff,
                                                      JUDGE ELDON E. FALLON
v.
                                                      MAGISTRATE JANIS VAN
PHILLIPS 66 COMPANY
                                                      MEERVELD
                  Defendant.


                            STATEMENT OF MATERIAL FACTS
                           WHICH PRESENT NO GENUINE ISSUE

         Phillips 66 Company (“P66”) submits this Statement of Material Facts Which

Present No Genuine Issue in support of its Motion for Partial Summary Judgment:

    1. P66 and Blanchard Contractors, Inc. (“Blanchard”) entered into USA Master

       Services Agreement No. CW2291283 effective November 17, 2016 (the “MSA”), a

       true and correct copy of which is attached as Exhibit A-1.1

    2. Sections 18.1.1 and 18.1.2 of the MSA provide that P66 is obligated to indemnify

       Blanchard for claims arising from personal injury to P66 employees and Blanchard




1
 Exhibit A, Declaration of Mr. Todd Denton, ¶ 1, and attached A-1, USA Masters Services
Agreement with Blanchard. See also, Complaint for Declaratory Judgment (Doc. 1, hereafter
“Complaint”) ¶8, and Phillip 66 Answer (Doc. 4) ¶ 8.

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        is obligated to indemnify P66 for claims arising from personal injury to Blanchard’s

        employees.2

    3. On February 9, 2017, a fire occurred at the P66 Paradis Pipeline Station located in

        Paradis, Louisiana (the “Incident”) while Blanchard was providing work (labor and

        materials) for an ILI tool run, which is commonly referred to as a “pigging”

        operation. The work was being performed pursuant to the MSA and associated

        Service Order.3

    4. Following the Incident, a personal injury lawsuit was filed by an employee of

        Blanchard, Mr. Desmond Calloway, against P66 and others which is currently

        pending in the District Court of Harris County, Texas, Civil Action Number 2017-

        42198 (“Lawsuit”). Another employee of Blanchard, Mr. Jacob Jambon, intervened

        in the Lawsuit.     Mr. Calloway and Mr. Jambon claim they sustained personal

        injuries as a result of the Incident.4

    5. Pursuant to the indemnity and insurance provisions of the MSA, P66 made several

        tenders to Plaintiffs for contractual defense, indemnity, and insurance coverage for

        the personal injury claims asserted by Blanchard’s employees against P66.5




2
 Exhibit A, Declaration of Mr. Todd Denton, and attachment A-1, USA Masters Services
Agreement with Blanchard.
3
    Exhibit A, Declaration of Mr. Todd Denton, ¶ 1.
4
    Complaint (Doc. 1) at ¶¶ 13, 14; Answer (Doc. 4), ¶¶ 13, 14.
5
    Exhibit B, Declaration of Mr. Glenn M. Farnet, and attachments B-1, B-2, and B-3.

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     6. The Incident and contracted work at the Paradis station involved a segment of

        pipeline known as the RV-60 Venice-to-Paradis (VP01) natural gas liquid (“NGL”)

        pipeline (hereafter, the “Pipeline”).6

     7. The Pipeline connects to the Venice Energy Services Company LLC (“VESCO”)

        gas gathering plant located in Venice, Louisiana, and receives commingled,

        unfractionated Raw Product/Y-Grade NGL gathered by VESCO.7

     8. The NGL received into the Pipeline at the VESCO plant cannot be identified with

        any particular well because it originates from multiple wells and production

        facilities and is commingled prior to delivery to the Pipeline.8

     9. The Pipeline transports the commingled, unfractionated Raw Product/Y-Grade NGL

        downstream to the Enterprise Norco Fractionation Plant located in Norco,

        Louisiana, where it is fractionated and processed.9

     10. The Paradis station is an intermediate pumping station situated between the VESCO

        plant and the Enterprise Norco Fractionation Plant.10

                               By Attorneys:

                               /s/ Michael J. deBarros
                               Glenn M. Farnet (#20185) [Lead Attorney]
                               glenn.farnet@keanmiller.com
                               John F. Jakuback (#21643)


6
    Exhibit A, Declaration of Mr. Todd Denton at ¶ 3.
7
    Exhibit A, Declaration of Mr. Todd Denton at ¶¶ 4-5.
8
    Exhibit A, Declaration of Mr. Todd Denton at ¶¶ 4-5.
9
    Exhibit A, Declaration of Mr. Todd Denton at ¶¶ 4-5.
10
     Exhibit A, Declaration of Mr. Todd Denton at ¶ 6.

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                               CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed electronically with the Clerk

of Court using the CM/ECF system. Notice of this filing will be sent to all counsel of

record by operation of the Court’s electronic filing system.

                  Baton Rouge, Louisiana, this 10th day of April, 2018.


                                       /s/ Michael J. deBarros
                                       Michael deBarros




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